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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re:
Case No. 01-01139 (KF)
W.R. GRACE & CO., et al, Jointly Administered

Debtor. Chapter 11

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ORDER GRANTING ROYAL INDEMNITY COMPANY’S
MOTION FOR LEAVE TO FILE A LATE PROOF OF CLAIM

THIS matter coming before the Court on the Motion of Royal Indemnity Company
(“Royal”) pursuant to 11 U.S.C. § 105(a) and Fed. R. Bankr. P. 9006(b)(1) for leave to file a late
proof of claim (the “Motion”); and the Court having reviewed the Motion and all other pleadings
related thereto, and otherwise being fully advised in the premises of the Motion; and the Court
having found that (i) the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and
1334, (ii) this is a core matter pursuant to 28 U.S.C. § 157(b), (iii) Notice of the Motion was
sufficient under the circumstances, and (iv) good cause exists to grant the relief requested by the
Motion; now, therefore, for the reasons more fully set forth in the record of the hearing on the

Motion,
IT IS HEREBY GRDERED THAT:
1. The Motion is GRANTED; and

2. Royal is hereby allowed thirty (30) days from the date of this Order to file a proof
of claim with the Clerk of the Bankruptcy Court, which claim shall be deemed timely filed
notwithstanding the Bar Date of March 31, 2003, previously set by this Court for Non-Asbestos

Claims.

Signed this day of , 2003.

UNITED STATES BANKRUPTCY JUDGE

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